                       Case 4:02-cr-40078-JPG                     Document 1195 Filed 02/16/12                       Page 1 of 3                                        Page ID
      A0245D                                                                #1722
                        (Rev. 09/11) Judgment in a Criminal Case for Revocations
                        Sheet l

                                                                                                                                                                                        D
                                                UNITED STATES DISTRICT COURT                                                                             ~="£B
                                                                                                                                                                                16
                                                                     Southern District of Illinois
                                                                                                                         soZ~t:.R~ u                                                 20l?
                                                                                                                             Ht:.Rtv .s. Dts
                                                                                                                                8t:.tvf?,!srR1{;Ric 1 c
                      UNITED STATES OF AMERICA                                      Judgment in a Criminal Case                         Orv or:: Of: If..OLURr
                                                                                                                                                 'ct:. ltvoIS
                                 v.                                                 (For Revocation of Probation or Supervised Release)
                           Christopher Campbell

                                                                                    Case No. 4:02CR40078-20-JPG
                                                                                    USM No. 05885-025
                                                                                         Patricia J. Koprucki
                                                                                                                Defendant's Attorney
      THE DEFENDANT:
      ~ admitted guilt to violation of condition(s)                as alleged below                   of the term of supervision.
      D         was found in violation of condition(s)            - - - - - - - - - - - a f t e r denial of guilt.
      The defendant is adjudicated guilty of these violations:

      Violation Number                                                 Nature of Violation                                            Violation Ended
      Statutory                            Defendant committed offense of Seat Belt Required                                  04/15/2011
··'s''io.''"''.~.~;                                                                                                       ,:::;!1··:,,~'o;2o..o'~~ :... ,• . •.
h,:     \,Q"'\A                                                                                                           ~,~:<:+,., ,", ,:r,~ 'ij; "'' ~, ",,~~:>,, ;, ,,, ~
      ,:;;;;c


                                           Synthetic Cannabis, otherwise known as K2.



             The defendant is sentenced as provided in pages 2 through _ _.;3;..__ of this judgment. The sentence is imposed pursuant to
      the Sentencing Reform Act of 1984.
      D         The defendant has not violated condition(s) - - - - - - - a n d is discharged as to such violation(s) condition.

                It is ordered that the defendant must notifv the United States attorney for this district within 30 days of any
      change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
      fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
      economic Circumstances.

      Last Four Digits of Defendant's Soc. Sec. No.: 6200                            02/16/2012

      Defendant's Year of Birth:               1971

      City and State of Defendant's Residence:                                                                   Signature of Judge
      Mt. Vernon, IL 62864
                                                                                      J. Phil                                                         District Judge
                                                                                                             Name and Title of Judge

                                                                                         (
                                                                                     I
          Case 4:02-cr-40078-JPG                     Document 1195 Filed 02/16/12      Page 2 of 3       Page ID
AO 2450                                                        #1723
           (Rev. 09/11) Judgment in a Criminal Case for Revocations
           Sheet lA
                                                                                                      2_
                                                                                      Judgment-Page _ _     of     3
DEFENDANT: Christopher Campbell
CASE NUMBER: 4:02CR40078-20-JPG

                                                      ADDITIONAL VIOLATIONS

                                                                                                           Violation
Violation Number               Nature of Violation                                                         Concluded
Standard# 9                    The defendant associated with a convicted felon                            11/10/2011



Special                        Defendant consumed alcohol while enrolled in program of substance abuse    11/10/2011



Special                        The defendant used alcohol                                                 11/15/2011
               Case 4:02-cr-40078-JPG                     Document 1195 Filed 02/16/12               Page 3 of 3          Page ID
 AO 2450                                                            #1724
               (Rev. 09/11) Judgment in a Criminal Case for Revocations
               Sheet 2- Imprisonment

                                                                                                  Judgment- Page   _..:::;3_ of     3
 DEFENDANT: Christopher Campbell
 CASE NUMBER: 4:02CR40078-20-JPG


                                                                   IMPRISONMENT

        The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a total
 term of:
54 months




    0      The court makes the following recommendations to the Bureau of Prisons:




    t/ The defendant is remanded to the custody of the United States Marshal.
    0      The defendant shall surrender to the United States Marshal for this district:
           0    at    --------- 0                         a.m.      0     p.m.    on
           0     as notified by the United States Marshal.

    0      The defendant shall surrender for service of sentence at the institution designated by the Bureau ofPrisons:
           0    before 2 p.m. on
           0    as notified by the United States Marshal.
           0    as notified by the Probation or Pretrial Services Office.

                                                                          RETURN

 I have executed this judgment as follows:




           Defendant delivered on                                                      to

 at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL


                                                                                 By
                                                                                            DEPUTY UNITED STATES MARSHAL
